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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                                         CRIMINAL NO. 3:21CR-00018-BJB



CURTIS BRADLEY                                                                        DEFENDANT


                         PRELIMINARY ORDER OF FORFEITURE

       This matter is before the Court for consideration of the United States’ Motion for

Preliminary Order of Forfeiture in this prosecution.

       The Notice of Forfeiture in the Indictment notified the defendant of the United States’

intention to seek forfeiture of certain property, pursuant to 18 U.S.C. § 2253(a)(3) on the ground

that the property was involved in the commission of violations of 18 U.S.C. § 2252A(a)(5)(B), 18

U.S.C. § 2252A(b)(2), 18 U.S.C. § 2251(a) and (e). On May 24, 2021, the defendant pled guilty

to Counts 1 through 4 of the Indictment and acknowledged that the Indictment in this case seeks

forfeiture of the property described in the Notice of Forfeiture in the Indictment.

       Therefore, the Court having reviewed this matter and being otherwise sufficiently advised,

IT IS HEREBY ORDERED:

       (1) Based on the defendant’s guilty plea to Counts 1 through 4 of the Indictment, the

Court finds that the following property was involved in the commission of the violations, and

therefore is forfeited to and may be seized by the United States for disposition in accordance with

the law, under 18 U.S.C. § 2253(a)(3) and subject to the provisions of 21 U.S.C. § 853(n):

       1. Mini SD Card;

       2. Black Wifi Video Camera Maginon IPC-30 FHD;
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         3. Cell Phone Samsung S7 Edge, SN: A3LSMG935US, Black; and

         4. Sandisk Mini SD Card 128GB Found Inside Samsung S7 Edge, Black

         (2) The United States, the United States Department of Homeland Security, or any duly

authorized law enforcement agency (hereinafter “custodian”) shall seize the property subject to

forfeiture if not in its custody, and shall maintain the property in its secure custody. If necessary,

the custodian may appoint a substitute custodian.

         (3) Pursuant to 21 U.S.C. § 853 and Rule G(4) of the Supplemental Rules, the custodian

shall publish on the Internet at www.forfeiture.gov for 30 consecutive days: notice of this order,

notice of the custodian’s intent to dispose of the property in such a manner as the Attorney General

may direct, and notice that any person, other than the defendant, who has or claims a legal interest

in the above property must file a petition with this Court within thirty (30) days of the final

publication date, receipt of actual notice, or within sixty (60) days of the first day of publication

on the Internet, whichever is earlier. This notice shall state that the petition shall be for a hearing

to adjudicate the validity of the petitioner’s alleged interest in the property, shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the petitioner’s right,

title, and interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and the relief sought. This notice shall also state that a copy of the petition

must be served on the United States Attorney’s Office, 717 West Broadway, Louisville, Kentucky

40202.

         (4) The United States may also, to the extent practicable, provide direct written notice to

any person known to have alleged an interest in property that is subject to this order of forfeiture.

         (5) Pursuant to Fed. R. Crim. P. 32.2 and 21 U.S.C. § 853(m), the United States is

authorized to conduct appropriate discovery and to conduct any necessary ancillary proceedings
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as provided by 21 U.S.C. § 853(n) as to the rights of third parties who may have an interest in the

property forfeited herein, or to identify any substitute assets as defined by 21 U.S.C. § 853(p).

        (6) If, as a result of the adjudication of third party interests, it becomes necessary to initiate

forfeiture proceedings under 21 U.S.C. § 853(p) regarding defendant’s interest in substitute assets

other than those listed in this order, the Court shall identify such substitute assets by entering an

amended preliminary order of forfeiture, and at that time shall authorize appropriate additional

discovery and ancillary proceedings regarding those assets. Upon adjudication of all third party

interests in the property identified by this order and any subsequent amended orders, this Court

shall enter a final order of forfeiture authorizing the custodian to take title to any interest forfeited

to the United States and allowing the custodian to dispose of the property in accordance with law,

pursuant to Rule 32.2 and 21 U.S.C. § 853.

        (7) This order shall be and is hereby fully incorporated and made part of the defendant’s

Judgment and Commitment, without further order of this Court, to be entered on or about

sentencing of the defendant.




                                                                                    January 27, 2022




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